          Case 2:07-cr-00281-RSM          Document 21        Filed 11/07/07     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-281-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   CASSANDRA WOOD,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Access Device Fraud; Fraud and Related Activity

15                         in Connection with Access Devices

16 Date of Detention Hearing:     Initial Appearance, November 7, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is before this Court on an Writ of Habeas Corpus ad Prosequendum,

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
          Case 2:07-cr-00281-RSM          Document 21        Filed 11/07/07      Page 2 of 3




01 having been in custody in the Valley State Prison for Women in Chowchilla, California. Defendant

02 does not contest detention. She was not interviewed by Pretrial Services.

03          2.     Defendant poses a risk of nonappearance due to the fact that she is currently

04 serving a state sentence in California, a history of nonappearance, and the lack of verified

05 background information. She poses a risk of danger due to the nature of the instant offense and

06 criminal history.

07          3.     There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

09 to other persons or the community.

10 It is therefore ORDERED:

11          (1)    Defendant shall be detained pending trial and committed to the custody of the

12                 Attorney General for confinement in a correction facility separate, to the extent

13                 practicable, from persons awaiting or serving sentences or being held in custody

14                 pending appeal;

15          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

16                 counsel;

17          (3)    On order of a court of the United States or on request of an attorney for the

18                 Government, the person in charge of the corrections facility in which defendant is

19                 confined shall deliver the defendant to a United States Marshal for the purpose of

20                 an appearance in connection with a court proceeding; and

21          (4)    The clerk shall direct copies of this Order to counsel for the United States, to

22                 counsel for the defendant, to the United States Marshal, and to the United States

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
         Case 2:07-cr-00281-RSM          Document 21    Filed 11/07/07     Page 3 of 3




01               Pretrial Services Officer.

02         DATED this 7th day of November, 2007.



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04                                            Mary Alice Theiler
                                              United States Magistrate Judge
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     DETENTION ORDER                                                                 15.13
     18 U.S.C. § 3142(i)                                                          Rev. 1/91
     PAGE 3
